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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


ALEXANDER QUINTERO-
CARDENAS,

                     Petitioner,

v.                                                        Case No: 6:18-cv-2162-Orl-40LRH

SECRETARY, DEPARTMENT OF
CORRECTIONS, and ATTORNEY
GENERAL, STATE OF FLORIDA,

                     Respondents.
                                           /

                                          ORDER

       This cause is before the Court on the Response to Petition (“Response,” Doc. 8)

filed by Respondents requesting that the Court deny the Petition for Writ of Habeas

Corpus (“Petition,” Doc. 1). Petitioner is advised out of an abundance of caution that the

denial of the Petition at this stage would represent a final adjudication of this case which

may foreclose subsequent litigation on the matter.

       Accordingly, it is ORDERED that Petitioner shall have NINETY (90) DAYS from

the date of this Order to file a Reply to the Response if he chooses. Thereafter, the Petition,

the Response, and the Reply (if filed) will be taken under advisement by the Court, and

an order will be entered without further notice. The Court will not address new grounds

raised in the Reply. Oliveiri v. United States, 717 F. App’x 966, 967 (11th Cir. 2018) (citing

United States v. Evans, 473 F.3d 1115, 1120 (11th Cir. 2006) (“[A]rguments raised for the
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first time in a reply brief are not properly before a reviewing court.”)). The Reply shall

not exceed twenty pages without leave of Court.

      DONE and ORDERED in Orlando, Florida on April 15, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Party
OrlP-4 4/15




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